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                                                                             (SPACE BELOW FOR FILING STAMP ONLY)

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 4

 5

 6   Attorney for Defendant, RAMIRO SALAS MUNOZ

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                                  ******

11   UNITED STATES OF AMERICA,                          Case No.: 1:15-CR-00288-LJO-SKO

12                    Plaintiff,                        STIPULATION TO CONTINUE
                                                        SENTENCING; DECLARATION OF
13          v.                                          ROGER D. WILSON IN SUPPORT
                                                        THEREOF; ORDER.
14   RAMIRO SALAS MUNOZ,
15
                      Defendant.
16

17          Defendant RAMIRO MUNOZ, by and through his counsel of record, ROGER D.
18   WILSON, and Plaintiff United States of America, by and through its counsel of record
19   PHILLIP A. TALBERT, United States Attorney and KATHLEEN A. SERVATIUS, Assistant
20   U.S. Attorney, hereby stipulate to the following modification of conditions of release. Good
21   cause exists for the requested continuance as explained in the Declaration of Roger D. Wilson
22   attached hereto.
23          1.        By previous order, on November 14, 2016, Mr. Munoz was ordered released to
24   the Teen Challenge Program, a one-year in-patient drug rehabilitation program maintained by
25   Teen Challenge, located at 42675 Road 44, Reedley, California 93654, under the strict
26   conditions imposed by the United States Pretrial Services Office.
27          2.        Mr. Munoz has benefited greatly from the residential chemical dependency
28   program administered by Teen Challenge International located in Reedley, California. Further,

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 1   training and participation in the Teen Challenge program(s) will benefit Mr. Munoz by

 2   providing him with the understanding of his long-term chemical dependency and provide him

 3   with the tools to combat his addiction in the future.

 4              3.      Mr. Munoz will complete the 12-month Teen Challenge residential chemical

 5   dependency program on January 21, 2018.

 6              4.      Mr. Munoz has applied to and was accepted for the 4-month “apprenticeship”

 7   program at Teen Challenge. This program trains graduates of Teen Challenge how to be

 8   leaders and counselors to newer participants in the Teen Challenge program. This program will

 9   be completed on or about May 20, 2018, and is also a residential program based in Reedley,
10   California.

11              5.      Mr. Munoz requests the Court continue his sentencing hearing until a date

12   following completion of the apprenticeship program.

13              6.      On or about January 5 and 11, 2018, Counsel for Mr. Munoz sent emails to

14   Assistant United States Attorney Kathleen A. Servatius requesting her stipulation to continue

15   the sentencing hearing to permit Mr. Munoz to complete the apprenticeship program. Due to

16   the press of business, Ms. Servatius was unable to respond to Counsel’s inquiries until today.

17   Ms. Servatius has no objection to Mr. Munoz’s request.

18              7.      This afternoon about roughly 1:25 p.m., Counsel for Mr. Munoz contacted

19   pretrial services and informed Mr. Dan Stark of Mr. Munoz’s request. Mr. Stark had no

20   objection to the request.

21              8.      Therefore, it is stipulated that Mr. Munoz’s current sentencing date of January

22   22, 2018, be continued until Monday, June 7, 2018 to allow Mr. Munoz to complete the Teen

23   Challenge apprenticeship program at the facility in Reedley, California.

24              9.      All other terms and conditions of release remain in full force and effect.

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 1   IT IS SO STIPULATED.

 2   DATED: January 18, 2018                              /s/ Kathleen A. Servatius
                                                          KATHLEEN A. SERVATIUS
 3
                                                          Assistant United States Attorney
 4

 5   DATED: January 18, 2018                              /s/ Roger D. Wilson
                                                          ROGER D. WILSON
 6                                                        Attorney for Ramiro Munoz
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        STIP. TO CONTINUE SENTENCING; DECL. OF ROGER WILSON IN SUPPORT THEREOF; PROPOSED ORDER. 3
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 1                            DECLARATION OF ROGER D. WILSON

 2                       IN SUPPORT OF REQUEST FOR CONTINUANCE

 3           I, ROGER D. WILSON, declare under penalty of perjury that:

 4           1.     I am an attorney duly licensed and authorized to practice law in the State of

 5   California and the United Stated District Court for the Eastern District of California.

 6           2.     I am the Court-appointed counsel for Mr. Ramiro Munoz, a defendant in this

 7   case.

 8           3.     On or about January 2, 2018, I spoke with my client, Mr. Munoz, via

 9   telephone—he was at Teen Challenge in Reedley, California—and he expressed his desire to
10   continue participation in the programs offered by Teen Challenge. He explained to me that he

11   was accepted into the 4-month apprenticeship program at Teen Challenge that will commence

12   following his graduation from the 12-month residential chemical dependency program on

13   January 21, 2018. The apprenticeship program is also a residential program based in Reedley,

14   California.

15           4.     On or about January 5, 2018, I directed my paralegal to contact Assistant United

16   States Attorney Kathleen A. Servatius, the prosecutor in Mr. Munoz’s case, and seek her

17   approval of continuing Mr. Munoz’s sentencing hearing to permit him to complete the

18   apprenticeship program at Teen Challenge. My paralegal sent an email to AUSA Servatius

19   making the aforementioned request.

20           5.     On or about January 11, 2018, I directed my paralegal to once again contact

21   Assistant United States Attorney Kathleen A. Servatius and seek her approval of continuing

22   Mr. Munoz’s sentencing hearing to permit him to complete the apprenticeship program at Teen

23   Challenge. My paralegal sent another email to AUSA Servatius making the aforementioned

24   request.

25           6.     On or about January 12, 2018, I met with Mr. Munoz at Teen Challenge in

26   Reedley, California and spoke with Mr. Munoz and two staff members of Teen Challenge.
27   During our meeting, Mr. Munoz again expressed his desire to continue participation in the

28   programs offered by Teen Challenge and explained to me that he was accepted into the 4-


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 1   month apprenticeship program at Teen Challenge.

 2          7.      On January 18, 2018, Assistant United States Attorney Kathleen A. Servatius

 3   emailed her agreement to stipulate to continue the sentencing hearing to permit Mr. Munoz to

 4   complete the apprenticeship program. Due to the press of business, Ms. Servatius was unable

 5   to respond to Counsel’s earlier inquiries. Ms. Servatius has no objection to Mr. Munoz’s

 6   request.

 7          8.      On January 18, 2018, at roughly 1:25 p.m., Counsel for Mr. Munoz contacted

 8   pretrial services and informed Mr. Dan Stark of Mr. Munoz’s request. Mr. Stark had no

 9   objection to the request.
10          I declare, under penalty of perjury under the laws of the State of California and the

11   United States of America, that I have personal knowledge of the foregoing and could testify

12   competently thereto except as to those matters based upon information and belief and as to

13   those matters I believe them to be true.

14   DATED: January 18, 2018                              /s/ Roger D. Wilson
                                                          ROGER D. WILSON
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                                                          Attorney for Ramiro Munoz
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 1                                              ORDER
 2          IT IS SO FOUND AND ORDERED that the above Stipulation Modifying Conditions
 3   of Release is hereby approved and the modification set forth in Paragraph Eight (8) of the
 4   Stipulation is adopted as a finding by the Court. The matter is continued to June 4, 2018 at
 5   8:30 a.m.
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 7   IT IS SO ORDERED.

 8      Dated:     January 19, 2018                        /s/ Lawrence J. O’Neill _____
 9                                                 UNITED STATES CHIEF DISTRICT JUDGE

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        STIP. TO CONTINUE SENTENCING; DECL. OF ROGER WILSON IN SUPPORT THEREOF; PROPOSED ORDER. 6
